Case 2:90-cv-00520-KJM-SCR   Document 5680-5   Filed 09/13/17   Page 1 of 21




                     EXHIBIT 4
          Case 2:90-cv-00520-KJM-SCR                Document 5680-5
STATE OF CALIFORNIA —DEPARTMENT OF CORRECTIONS AND REHABILITATION
                                                                            Filed 09/13/17    Page 2 of 21
                                                                                       EDMUND G. BROWN JR., GOVERNOR

OFFICE OF LEGAL AFFAIRS
Patrick R. McKinney II
General Counsel
P.O. Box 942883
Sacramento, CA 94283-0001




        August 2, 2017

        VIA EMAIL ONLY

        Lisa Ells                                                   Special Master Lopes
        Rosen Bien Galvan & Grunfeld LLP                            Pannone Lopes Devereaux and O’Gara LLC
        50 Fremont Street, 19th Floor                               Northwoods Office Park, Suite 215N
        San Francisco, CA 94105                                     1301 Atwood Avenue
                                                                    Johnston, RI 02919

        RE: Plaintiffs’ July 6, 2017 Letter and Defendants’ July 21, 2017 Response

        Special Master Lopes and Lisa:

        Defendants write to follow up on our July 21, 2017 letter regarding Mental Health Crisis Bed
        proposals and provide additional data requested during the all parties’ workgroup discussion on
        July 24, 2017. Defendants look forward to continuing to engage in cooperative efforts to
        identify obstacles to full compliance with a 24-hour timeline for transfer of inmates to Mental
        Health Crisis Beds and possible solutions.

                 1. Updates on Initiatives to Ensure Proper Bed Utilization of Mental Health Crisis Beds

        In Defendant’s April 7, 2017, Response to the Court’s March 24, 2017, Order to Show Cause,
        Defendants outlined several initiatives undertaken in the last year to help ensure appropriate use
        of Mental Health Crisis Beds (MHCB). Defendants also provided updates on those initiatives to
        Plaintiffs and the Special Master in their July 21 correspondence. Additional information and
        updates are discussed below.

                 a. Crisis Intervention Teams

        Defendants will have Crisis Intervention Teams (CIT) at eleven institutions by fall 2017.
        Institutions most in need of crisis intervention teams are identified through a review of existing
        data on referral and rescission rates. Thereafter, each institution is required to identify one staff
        member each from the mental health, nursing, and custody disciplines to provide after-hours
        coverage seven days per week. If an institution does not already have staff currently assigned to
        cover after hours, headquarters has authorized mental health staff to take 13 hour shifts, three
        days per week. If no volunteers are identified, mandated coverage or call backs will be
        implemented.

        CIT training includes a two-hour in-class training and shadowing a Master Trainer working with
        patients identified as requiring evaluations for possible MHCB referrals. Master Trainers are
        provided from the mental health, nursing, and custody disciplines.



                                                                                                   Exhibit 4 - 001
Case 2:90-cv-00520-KJM-SCR   Document 5680-5   Filed 09/13/17   Page 3 of 21
 Case 2:90-cv-00520-KJM-SCR Document 5680-5                    Filed 09/13/17     Page 4 of 21
RE: Mental Health Crisis Bed Proposal
Page 3

                         KVSP           0700-1700       7
                                        0800-1800       5
                         LAC            0700-1700       Sat/Sun/Mon
                                        0700-2200       Tue/Wed/Thur
                                        0700-2000       Fri
                         MCSP           0600-2400       Mon-Thur
                                        0600-1700       Fri
                                        0700-1700       Sat/Sun
                         NKSP           0700-1700       7
                         PBSP           0700-1700       Sat/Sun/Mon
                                        0700-2200       Tue-Fri
                         PVSP           0700-1700       7
                         RJD            0700-2200       5
                                        0700-1700       Sat/Sun
                         SAC            0600-0100       7
                         SATF           0700-1700       7
                         SCC            0730-1730       5
                                        0800-1800       Sat/Sun
                         SOL            0700-1700       7
                         SQ             0600-2300       M-Thur
                                        0600-1900       Fri
                                        0700-1700       Sat/Sun
                         SVSP           0700-1700       5
                                        1000-2300       5 (CIT)
                                        0700-1700       Sat/Sun
                                                        MHCB Staff
                         VSP            0700-1700       7
                         WSP            0700-1700       7

       c. Clustering of Mental Health Crisis Beds & Transport Timelines

In December 2016, Defendants clustered their crisis beds into three regions. In comparing the
average time for inmates to be transferred to outside crisis beds from the time periods of January
– June 2016 (prior to clustering) and January – June 2017 (subsequent to clustering), the average
length of time (in hours) from referral to HCPOP bed assignment for all three regions decreased
by 17.54 hours and the average length of time (in hours) from referral to disposition decreased
by 16.85 hours.

For comparison, attached as Exhibits B and C are tables showing the average length of time from
referral to disposition by region and type of admission for January through June of 2016 and
January through June of 2017.

Attached as Exhibits D and E are data from the first week of June 2017, illustrating the
difference between the length of time to place an inmate on a transport vehicle versus the length
of time to place the inmate into the receiving institution’s bed. These exhibits show that the
average transportation time from sending to receiving institution is approximately 4.12 hours,
with a range of 0.94 hours to 9.14 hours. It should be noted that the same trip between
institutions can vary widely. For example, transfers between RJD and LAC took anywhere from
4.68 to 9.14 hours due to traffic and other conditions. Based on varying transportation times
between institutions, the overall short duration of time the inmate spends being transported, and



                                                                                      Exhibit 4 - 003
 Case 2:90-cv-00520-KJM-SCR Document 5680-5                     Filed 09/13/17      Page 5 of 21
RE: Mental Health Crisis Bed Proposal
Page 4

the fact that the inmate is safe during transportation, it appears appropriate to measure
completion of a referral for an inmate-patient transferring to an outside mental health crisis bed
to occur at the time the inmate-patient is placed in a transport vehicle.

Finally, attached as Exhibit F is a table showing the average time to disposition for internal and
external transfers and the number of internal and external transfers conducted by each institution
from March through June 2017.

       2. Rescission Rates

Defendants supplied data in their July 21 letter on rescission rates and the impact of after-hours
referrals. Attached as Exhibit G, is an excel table showing the number of referrals made both
after (5:00 PM to 5:00 AM) and during peak hours (5:00 AM to 5:00 PM), as well as data on the
number of rescissions that occur at each institution. The data shows that over a quarter of all
after hours referrals are rescinded (1,882 in six months) versus only 9.3% of referrals (or 678
over six months) made during peak hours. Of the total number of rescissions, 73% are
rescissions of referrals made after hours. Rescissions cause delays at the institutional level by
removing clinicians from direct patient care in order to complete rescission paperwork.
Rescissions also cause delays at the HQ level, leaving HCPOP unable to identify true needs for
placement until all rescissions are removed from pending waitlists.

Defendants propose to address the high after hours rescission rate by requiring that clinical
evaluations be completed in person before an inmate can be referred to a mental health crisis
bed. While Defendants have increased after hours staff and are expanding Crisis Intervention
Teams (see Section 1(a) and 1(b), infra.), Defendants propose that inmates who seek after hours
care be kept in a safe location under one-to-one observation until a clinician conducts an in-
person evaluation. Defendants propose that such an evaluation will be conducted no later than
the next morning, and referral to a crisis bed will commence after the in-person evaluation if
warranted.

       3. Readmission Rates

Defendants provided data in their July 21 letter regarding readmission rates. Attached as Exhibit
H is institutional readmission rate data for the second quarter of 2017. The data shows the
percentage of crisis bed and Department of State Hospitals/Psychiatric Inpatient Program
discharges that were not readmitted within 30 days. The statewide readmission rate for that
quarter was 20%.

       4. Long Lengths of Stay in Mental Health Crisis Beds

Attached as Exhibit I is inmate-level, clinical data regarding the fifteen inmates identified in
Defendants’ July 21 correspondence with current crisis bed stays beyond thirty days in response
to plaintiffs’ request at the all-parties workgroup on July 24, 2017.

As indicated in Defendants’ July 21 letter noting inmates in crisis beds beyond sixty days, that
data was based on Defendants’ monthly psychiatric aging report which identified several inmates



                                                                                       Exhibit 4 - 004
 Case 2:90-cv-00520-KJM-SCR Document 5680-5                   Filed 09/13/17      Page 6 of 21
RE: Mental Health Crisis Bed Proposal
Page 5

who were out to court and not in a crisis bed, but remained on crisis bed status. Of the eight
inmates with the longest lengths of stay, one inmate was a SOMS coding error, one had a
medical hold, one was chronically acutely and neurologically impaired and found inappropriate
for acute or intermediate care, and five were out to court. All but one of those inmates have
since been transferred out of the crisis beds.

       5. Female Transfers to Crisis Beds

CDCR continues to identify inmates custodially eligible for placement at Department of State
Hospitals - Patton. The following inmates are currently housed at DSH-Patton:




At CIW’s Psychiatric Inpatient Program, two inmates (                     and
      ), are custodially eligible for unlocked dorms.

       6. Plan To Address Inpatient Waitlists

CDCR is aware of the impact that inpatient beds have on Mental Health Crisis Bed waitlists. In
response to the current inpatient waitlist, CDCR has undertaken several steps to increase the flow
through the inpatient beds. First, CDCR has begun admitting patients to the acute and
intermediate programs on weekends to avoid having a patient wait extra days for admission.
Second, CDCR is actively reviewing all inmates in the higher custody intermediate settings that
are custodially eligible for unlocked dorms. CDCR has directed its PIPs to begin referring nearly
all of their unlocked dorm eligible inmates to their least restrictive housing. Finally, CDCR has
increased the census at CMF’s L1 to 36 patients as of August 1, 2017.


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                                                                                     Exhibit 4 - 005
 Case 2:90-cv-00520-KJM-SCR Document 5680-5                   Filed 09/13/17     Page 7 of 21
RE: Mental Health Crisis Bed Proposal
Page 6

Defendants look forward to discussing the data and issues with Plaintiffs and the Special Master
at our workgroup on August 4, 2017.


Sincerely,


/s/ Andrea S. Moon

ANDREA S. MOON
Attorney
Office of Legal Affairs

Attachment(s):
    A. CIW CIT Data Sheet
    B. MHCB Time Frames Drill Down Jan – Jun 2016
    C. MHCB Time Frames Drill Down Jan – Jun 2017
    D. MHCB Transport and Placement Averages 6-5 6-9
    E. MHCB Transport and Placement Timeframes 6-5 6-9
    F. MHCB Data Summary w capacity
    G. MHCB Ref Dis Jan-June 2017 Pivot
   H. 2nd Q 2017 Readmission Rates by Inst.
   I. 15 Patients in MHCB Over 30 Days

cc:

Special Master Lopes
Michael Bien
Tom Nolan
Steve Fama
Co-Counsel




                                                                                    Exhibit 4 - 006
Case 2:90-cv-00520-KJM-SCR   Document 5680-5   Filed 09/13/17   Page 8 of 21




                                                                               Exhibit 4 - 007
                                           MHCB REFERRALS RECEIVED
                                   Case 2:90-cv-00520-KJM-SCR      BETWEEN
                                                              Document 5680-5JANUARY   ‐ JUNE 2016
                                                                               Filed 09/13/17  Page 9 of 21

Referral Disposition Transferred

Region              Ave Referral to HCPOP Bed Assignment   Ave Bed Assignment to Transportation   Ave Referral to Transportation     Referral Count
Southern (60 beds)                   30.56                                  6.97                                 37.48                     583
Northern (131 beds)                  30.23                                 11.57                                 41.76                     338
Central (236 beds)                   30.13                                 12.46                                 42.58                    1683
Grand Total                          30.24                                 11.12                                 41.33                    2604

Referral Disposition Internally Admitted

Region              Ave Referral to HCPOP Bed Assignment   Ave Bed Assignment to Admission           Ave Referral to Admission        Referral Count
Southern (60 beds)                   46.11                                5.37                                  29.52                      344
Northern (131 beds)                  36.34                                4.00                                  21.54                      550
Central (236 beds)                   42.40                                5.90                                  26.90                     1084
Grand Total                          41.75                                5.34                                  25.87                     1978




Referral Disposition Internally Admitted

Region             Ave Referral to HCPOP Bed Assignment    Ave Bed Assignment to Admission          Ave Referral to Admission        Referral Count
  Female (22 beds)
    CCWF                            70.50                                   8.56                                45.74                      84
    CIW                             59.34                                   3.34                                43.61                      226
Grand Total                         61.51                                   4.35                                44.19                      310




Data Source: HEART                                                                                                            Exhibit 4Oversight
                                                                                                       CCHCS, Health Care Placement     - 008    Program
                                         MHCB REFERRALS RECEIVED
                                Case 2:90-cv-00520-KJM-SCR       BETWEEN
                                                           Document 5680-5 JANUARY    ‐ JUNE 2017
                                                                             Filed 09/13/17   Page 10 of 21

Referral Disposition Transferred

Region              Ave Referral to HCPOP Bed Assignment   Ave Bed Assignment to Transportation   Ave Referral to Transporation     Referral Count
Southern (60 beds)                  23.92                                 10.42                              34.25                      537
Northern (131 beds)                  6.65                                 10.94                              17.45                      287
Central (236 beds)                   9.72                                 12.72                              22.25                     1444
Grand Total                         12.70                                 11.95                              24.48                     2268

Referral Disposition Internally Admitted

Region              Ave Referral to HCPOP Bed Assignment    Ave Bed Assignment to Admission       Ave Referral to Admission       Referral Count
Southern (60 beds)                  20.17                                  5.13                               24.82                    310
Northern (131 beds)                  4.42                                  4.57                                8.95                    742
Central (236 beds)                   9.20                                  5.21                               14.20                   1092
Grand Total                          9.10                                  4.98                               13.92                   2144




Referral Disposition Internally Admitted

Region             Ave Referral to HCPOP Bed Assignment     Ave Bed Assignment to Admission       Ave Referral to Admission       Referral Count
  Female (22 beds)
    CCWF                           146.28                                  8.31                              154.59                     97
    CIW                             33.11                                 26.97                              36.83                      188
Grand Total                        104.86                                 20.62                              76.91                      285




Data Source: HEART                                                                                                         Exhibit 4Oversight
                                                                                                    CCHCS, Health Care Placement     - 009    Program
Case 2:90-cv-00520-KJM-SCR   Document 5680-5   Filed 09/13/17   Page 11 of 21
Case 2:90-cv-00520-KJM-SCR   Document 5680-5   Filed 09/13/17   Page 12 of 21
Case 2:90-cv-00520-KJM-SCR   Document 5680-5   Filed 09/13/17   Page 13 of 21
Case 2:90-cv-00520-KJM-SCR   Document 5680-5   Filed 09/13/17   Page 14 of 21
Case 2:90-cv-00520-KJM-SCR   Document 5680-5   Filed 09/13/17   Page 15 of 21
Case 2:90-cv-00520-KJM-SCR   Document 5680-5   Filed 09/13/17   Page 16 of 21
Case 2:90-cv-00520-KJM-SCR   Document 5680-5   Filed 09/13/17   Page 17 of 21
                                  Case MHCB  REFERRALS RECEIVED IN MARCH
                                       2:90-cv-00520-KJM-SCR             ‐ JUNE5680-5
                                                                    Document    2017 RESULTING IN MHCB PLACEMENT
                                                                                         Filed 09/13/17   Page 18 of 21
                                                                  BY REFERRING INSTITUTION AND DISPOSITION
                                             Disposition = Internally Admitted                                           Disposition = Transferred                                      Total
                                                                                                                                                                       Grand Total
                 MHCB         Internally       Internally                                                              Transferred                                                    Average
                                                                Total Internally    Average Hours     Transferred                          Total         Average Hours Placed in
Referring      Operational    Admitted     Admitted Greater                                                          Greater than 24                                                  Hours to
                                                                   Admitted        to Internal Admit Within 24 hours                    Transferred       to Transfer    MHCB
Institution     Capacity   Within 24 hours  than 24 hours                                                                 hours                                                      Disposition
ASP                                                                                                        26                2               28              13.74          28          13.74
CAC                                                                                                         2                1                3              10.67           3          10.67
CAL                                                                                                         5                8               13              32.21          13          32.21
CCC                                                                                                         8                1                9              11.18           9          11.18
CCI                                                                                                        153              16              169              19.15         169          19.15
CCWF                 12            1                 65                66                168.9              1                                 1              23.35          67         166.73
CEN                                                                                                         2                7                9               29.2           9          29.20
CHCF                 98            99                15                114               15.74              3                1                4              29.29         118          16.20
CIM                  34            43                29                 72                24.5              9               14               23              39.31          95          28.08
CIW                  10            72                63                135               35.72              1                                 1              22.63         136          35.62
CMC                  50           161                10                171                9.77             28                7               35               17.7         206          11.12
CMF                  50           143                 3                146                7.79              2                3                5               22.1         151           8.26
COR                  24           129                41                170               17.33             36              105              141              31.73         311          23.86
CRC                                                                                                         5               11               16              29.87          16          29.87
CTF                                                                                                        17                5               22              16.62          22          16.62
CVSP                                                                                                                         1                1              26.55           1          26.55
DVI                                                                                                        59               25               84              18.88          84          18.88
FOL                                                                                                         7                1                8              12.78           8          12.78
FWF                                                                                                                          1                1               75.7           1          75.70
HDSP                 10            55                                  55                 8.28                                                                              55           8.28
ISP                                                                                                         3                4                7              21.02           7          21.02
KVSP                 12            56                15                 71               17.12             23               16               39              23.38         110          19.34
LAC                  12            48                31                 79               22.81             27               43               70              33.68         149          27.92
MCSP                  8            94                 4                 98                7.87             50               23               73              16.27         171          11.46
NKSP                 10            20                 4                 24               15.45              8               10               18              21.81          42          18.18
PBSP                 10            28                                   28                5.88                                                                              28           5.88
PVSP                  6            15                                   15                5.87              1               1                 2              24.08          17           8.01
RJD                  14            29                41                 70               33.19             65              172              237              41.34         307          39.48
SAC                  44           169                14                183               11.18              9               19               28              34.59         211          14.29
SATF                 20            93                16                109               13.52             76               34              110              18.91         219          16.22
SCC                                                                                                        14               4                18              12.63          18          12.63
SOL                  9             18                                  18                 4.65              3               2                 5              27.73          23           9.66
SQ                                 1                                   1                   0.5             58               4                62              13.33          63          13.13
SVSP                 10            67                12                79                17.93             28               75              103              40.18         182          30.52
VSP                                                                                                        99               21              120              18.21         120          18.21
WSP                   6           33                 8                 41                15.63             79               18               97              18.08         138          17.35
Grand Totals         449         1374               371               1745               21.85             907             655             1562              25.93         3307         23.78




Data Source: HEART                                                                                                                                                         Exhibit 4Oversight
                                                                                                                                                      CCHCS, Health Care Placement   - 017 Program
                                              Case 2:90-cv-00520-KJM-SCR                        Document 5680-5                      Filed 09/13/17             Page 19 of 21


  Select Referral ...                 Select Original Re...                 Institution Referral Dispositions:                        Of the Total Referrals Made (7262):
                                                                            Total Referrals Made:                             7262    Rescinded Referrals Originally Referred Btw 5PM and 5AM:                1882
   Internally Admitted                 Btw 5AM and 5PM                      Total Referrals Made Btw 5PM and 5AM:             3635    % Rescinded Originally Referred Btw 5PM and 5AM:                       25 9%
   Rescinded                           Btw 5PM and 5AM                      % Total Referrals Made Btw 5PM and 5AM:          50.1%    Rescinded Referrals Originally Referred Btw 5AM and 5PM:                 678
                                                                            Total Referrals Made Btw 5AM and 5PM:             3627    % Rescinded Originally Referred Btw 5AM and 5PM:                        9 3%
   Transferred                                                              % Total Referrals Made Btw 5AM and 5PM:          49.9%
                                                                            Total Rescinded Referrals:                        2560    Of the Total Rescinded Referrals (2560):
                                                                            % Rescinded Referrals:                           35.3%    Rescinded Referrals Originally Referred Btw 5PM and 5AM:                1882
                                                                                                                                      % of Rescinded Referrals Originally Referred Btw 5PM and 5AM:          73.5%
                                                                                                                                      Rescinded Referrals Originally Referred Btw 5AM and 5PM:                 678
                                                                                                                                      % of Rescinded Referrals Originally Referred Btw 5AM and 5PM:          26.5%

Row Labels    Count of Time
SAC                       198                                 Institution Referral Disposition Based on Original Referral Time From 1/1/2017 Through 6/30/2017
CMC                       179   250
CMF                       145
COR                       134
CIW                       105
MCSP                      102
SATF                       89   200
CHCF                       87
RJD                        74
CIM                        61
HDSP                       57
KVSP                       57
                                150
SVSP                       54
CCWF                       47
LAC                        43
WSP                        31
PBSP                       25
PVSP                       23   100
NKSP                       20
SOL                        18
SQ                          1
Grand Total              1550
                                 50




                                  0
                                        SAC      CMC    CMF    COR    CIW    MCSP     SATF   CHCF     RJD    CIM      HDSP     KVSP      SVSP    CCWF     LAC     WSP     PBSP    PVSP    NKSP        SOL   SQ

                                Referring Institution




                                                                                                                                                                                                 Exhibit 4 - 018
Case 2:90-cv-00520-KJM-SCR   Document 5680-5   Filed 09/13/17   Page 20 of 21
                      Case 2:90-cv-00520-KJM-SCR      Document 5680-5       Filed 09/13/17     Page 21 of 21

CDCR#   Institution      Days in MHCB as of 7/12/17      Status as of 7/12/17
                                                         If patient's symptoms improve he will be considered for discharge at
                                                         the EOP LOC. IDTT team will continue to monitor resolution of sx's and
        CIM              42                              if the sx's do not remit the IDTT will consider a referral to a higher LOC
                                                         such as DSH Acute LOC. As of 7/7/17 PT was found to positive for MDO
                                                         status and is pending a second MDO evaluation.
        CIM              40                              Transferred to APP 7/12/17
        CIM              54                              Accepted to APP - Pending Transfer
        CIM              56                              Accepted to ICF - Pending Transfer
        CIM              41                              Accepted to ICF - Pending Transfer
        CIM              50                              Accepted to ICF - Pending Transfer
                                                         Initially, pt being observed for appropriate LOC, however it was learned
                                                         pt to be paroled soon (expected 7/9/17), thus retained in MHCB for
                                                         parole planning. Team later learned pt to be evaluated for MDO,
        CIM              50                              however it has been determined that patient's criminal case does not
                                                         qualify him for MDO, therefore patient will be paroled with
                                                         recommendation for 5150 evaluation in the County Mental Health
                                                         Department of his paroling county.
        CIM              33                              Accepted to ICF - Pending Transfer
        CMC              31                              Pending transfer to PIP
                                                         Patient has severe neurocognitive deficits. Long term treatment in
        CMC              386
                                                         MHCB approved at the HQ level.
        COR              40                              Pending APP referral once medical hold is lifted
        MCSP             42                              Referred to APP. On medical hold.
        SAC              40                              Accepted to APP - Medical hold placed due to surgery consultations.
        SAC              35                              Accepted to APP - Pending Transfer
        SATF             38                              Referred to ICF




                                                                                                                    Exhibit 4 - 020
